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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                               (Jointly Administered)
                          Debtors.1




                                            NOTICE OF SERVICE

          I Rachel B. Mersky, hereby certify that on January 26, 2021, the Coalition of Abused

Scouts for Justice served or caused to be served a copy of the discovery requests listed below via

email upon the following parties:

tschiavoni@omm.com; jpanchok-berry@omm.com; akirschenbaum@omm.com;
stamoulis@swdelaw.com; cwadley@walkerwilcox.com; weinblatt@swdelaw.com;
philip.anker@wilmerhale.com; efay@bayardlaw.com; gflasser@bayardlaw.com;
egoldstein@goodwin.com; mbackus@goodwin.com; joel.millar@wilmerhale.com;
jruggeri@goodwin.com; danielle.spinelli@wilmerhale.com; jweinberg@goodwin.com;
awilliams@goodwin.com; larmenti@coughlinduffy.com; kcoughlin@coughlinduffy.com;
mhrinewski@coughlinduffy.com; mjoyce@mjlawoffices.com; bcl@crlaw.com;
dabbott@mnat.com; jbarsalona@mnat.com; kbasaria@sidley.com; jducayet@sidley.com;
bguzina@sidley.com; ahmmond@whitecase.com; tlabuda@sidley.com; emoats@mnat.com;
aoneill@sidley.com; aremming@mnat.com; ptopper@mnat.com; mewalker@sidley.com;
blair.warner@sidley.com; jason@rsvalaw.com; lcantor@pszjlaw.com; akornfeld@pszjlaw.com;
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inasatir@pszjlaw.com; joneill@pszjlaw.com; rorgel@pszjlaw.com; KPasich@PasichLLP.com;
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bmccullough@bodellbove.com; bruce.celebrezze@clydeco.us; konrad.krebs@clydeco.us;
taylor.meehan@clydeco.us




1
    The Debtors in these Chapter 11 Cases, together with the last four digits of Debtor’s federal tax identification
    number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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         I further certify that on January 27, 2021 the below documents were also served or caused

to be served on updated email addresses for the following parties whose service list email

address came back undeliverable with the January 26, 2021 service:

ahammond@whitecase.com; cwadley@walkerwilcox.com; vnappo@pcvalaw.com;
jason@pcvalaw.com; michael@pcvalaw.com


         I further certify that a copy of this Notice of Service was served on all parties on the

attached service list and by CM/ECF upon those parties registered to received such electronic

notifications in this case.

         DOCUMENTS SERVED

    1. Coalition of Abused Scouts for Justice First Request for The Production of Documents to
       Century Indemnity Company;
    2. Coalition of Abused Scouts for Justice First Request for The Production of Documents to
       Hartford Accident and Indemnity Company;
    3. Coalition of Abused Scouts for Justice First Set of Interrogatories to Century Indemnity
       Company;
    4. Coalition of Abused Scouts for Justice First Set of Interrogatories to Hartford Accident
       and Indemnity Company;
    5. Coalition of Abused Scouts for Justice First Set of Requests for Admission to Century
       Indemnity Company;
    6. Coalition of Abused Scouts for Justice First Set of Requests for Admission to Hartford
       Accident and Indemnity Company; and
    7. Notice of Deposition of Dr. Denise Neumann Martin.



Dated: February 2, 2021                       MONZACK MERSKY AND BROWDER, P.A.
Wilmington, Delaware
                                              /s/ Rachel B. Mersky
                                              Rachel B. Mersky (DE No. 2049)
                                              1201 North Orange Street, Suite 400
                                              Wilmington, Delaware 19801
                                              Telephone:     (302) 656-8162
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                                              E-mail:        rmersky@monlaw.com




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                                              -and-

                                       BROWN RUDNICK LLP
                                       David J. Molton, Esq.
                                       Seven Times Square
                                       New York, NY 10036
                                       Telephone: (212) 209-4800
                                       E-mail: DMolton@BrownRudnick.com

                                       and

                                       Sunni P. Beville, Esq. (admitted pro hac vice)
                                       Tristan G. Axelrod, Esq. (admitted pro hac vice)
                                       One Financial Center
                                       Boston, MA 02111
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                                       Counsel to the Coalition of Abused Scouts for
                                       Justice




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                                                                                                      Case 20-10343-LSS                           Doc 2006               Filed 02/02/21                 Page 4 of 11



                       A                               B                                     C                        D                            E                       F                G             H                          I                        J                               K
1                   Creditor                        Address1                              Address2                 Address3                     Address4                Address5          Phone          FAX                       Email                  Attention                       Description

    Abernathy, Roeder, Boyd & Hullett,                                                                                                                                                                                                                                      *NOA - Counsel to Collin County Tax
2   P.C.                                 Attn: Chad Timmons              Attn: Larry R. Boyd           Attn: Emily M. Hahn            1700 Redbud Blvd, Ste 300   McKinney, TX 75069   214-544-4000 214-544-4040 ctimmons@abernathylaw.com       Chad Timmons               Assessor/Collector

  Abernathy, Roeder, Boyd & Hullett,                                                                                                                                                                                                                                        *NOA - Counsel to Collin County Tax
3 P.C.                                                                                                                                                                                                            bankruptcy@abernathylaw.com    Larry R. Boyd              Assessor/Collector

  Abernathy, Roeder, Boyd & Hullett,                                                                                                                                                                                                                                        *NOA - Counsel to Collin County Tax
4 P.C.                                                                                                                                                                                                            ehahn@abernathy-law.com        Emily M. Hahn              Assessor/Collector
                                                                                                                                                                                                                                                                            *NOA - Counsel to Chickasaw Council,
5 Adams and Reese LLP                    Attn: Henry C. Shelton, III     6075 Poplar Ave, Ste 700      Memphis, TN 38119                                                               901-525-3234               Henry.Shelton@arlaw.com        Henry C. Shelton, III      Boy Scouts of America, Inc.
                                                                                                                                                                                                                                                                            *NOA - Counsel for Del-Mar-Va Council,
6 Ashby & Geddes, PA                     Attn: Bill Bowden               500 Delaware Ave, 8th Fl      P.O. Box 1150                  Wilmington, DE 19899-1150                        302-654-1888 302-654-2067 wbowden@ashbygeddes.com         Bill Bowden                Inc, Boy Scouts of Am
                                                                                                                                                                                                                                                                            *NOA - Counsel to several sexual abuse
7 Baird Mandalas Brockstedt, LLC         Attn: Stephen W. Spence         1413 Savannah Rd, Ste 1       Lewes, DE 19958                                                                 302-645-2262 302-644-0306 sws@bmbde.com                   Stephen W. Spence          survivor claimants
                                                                                                                                                                                                                                                                            *NOA - Counsel for Sequoia Counsel of
8 Baker Manock & Jensen, PC              Attn: Jan T. Perkins            5260 N Palm Ave, Ste 421      Fresno, CA 93704                                                                                           jperkins@bakermanock.com       Jan T. Perkins             Boy Scouts, Inc.

                                                                                                                                                                                                                                                                            *NOA - Counsel for Hartford Accident
                                                                                                                                                                                                                                                                            and Indemnity Company, First State
                                                                                                                                                                                                                                                                            Insurance Company,
9 Bayard, PA                             Attn: Erin Fay/ Gregory Flasser 600 N King St, Ste 400        Wilmington, DE 19801                                                            302-655-5000               efay@bayardlaw.com             Erin R. Fay                and Twin City Fire Insurance Company

                                                                                                                                                                                                                                                                            *NOA - Counsel for Hartford Accident
                                                                                                                                                                                                                                                                            and Indemnity Company, First State
                                                                                                                                                                                                                                                                            Insurance Company,
10 Bayard, PA                                                                                                                                                                          302-655-5000               gflasser@bayardlaw.com         Gregory J. Flasser         and Twin City Fire Insurance Company
                                                                                                                                                                                                                                                                            *NOA - Counsel for Various Tort
11 Bielli & Klauder, LLC                 Attn: David M Klauder           1204 N King St                Wilmington, DE 19801                                                            302-397-4600 302-397-2557 dklauder@bk-legal.com           David M. Klauder           Claimants

12 Bielli & Klauder, LLC                 Attn: David M. Klauder          1204 N King St                Wilmington, DE 19801                                                            302-803-4600 302-397-2557 tbielli@bk-legal.com            David M. Klauder           *NOA - Counsel to Certain Tort Claimants
                                                                                                                                                                                                                                                                            *NOA - Counsel for Agricultural Insurance
13 Bodell Bove, LLC                      Attn: Bruce W. McCullough       1225 N King St, Ste 1000      Wilmington, DE 19801                                                            302-655-6749 302-655-6827 bmccullough@bodellbove.com      Bruce W. McCullough        Company
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14 Bradley Riley Jacobs PC               Attn: Todd C. Jacobs            320 W Ohio St, Ste 3W         Chicago, IL 60654                                                               312-281-0295               tjacobs@bradleyriley.com       Todd C. Jacobs             Corporation
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15 Brown Rudnick LLP                     Attn: David J. Molton           7 Times Square                New York, NY 10036                                                              212-209-4800               DMolton@brownrudnick.com       David J. Molton            Abused Scouts for Justice
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16 Brown Rudnick LLP                     Attn: Sunni P. Beville          Attn: Tristan G. Axelrod      1 Financial Ctr                Boston, MA 02111                                 617-856-8200               sbeville@brownrudnick.com      Sunni P. Beville           Abused Scouts for Justice
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17 Brown Rudnick LLP                                                                                                                                                                                              taxelrod@brownrudnick.com      Tristan G. Axelrod         Abused Scouts for Justice
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18 Brown Rudnick LLP                                                                                                                                                                                              EGoodman@brownrudnick.com      Eric Goodman               Abused Scouts for Justice
   Buchalter, A Professional
19 Corporation                           Attn: Shawn M. Christianson     55 Second St, 17th Fl         San Francisco, CA 94105-3493                                                    415-227-0900 415-227-0770 schristianson@buchalter.com     Shawn M. Christianson      *NOA - Counsel for Oracle America, Inc.
                                                                                                                                                                                                                                                                            *NOA - Counsel for Chicksaw Council,
20 Butler Snow LP                        Attn: Daniel W. Van Horn        P.O. Box 171443               Memphis, TN 38187-1443                                                                                     Danny.VanHorn@butlersnow.com   Daniel W. Van Horn         BSA, Inc.
                                                                                                                                                                                                                                                                            *NOA - Counsel for Arrowood Indemnity
21 Carruthers & Roth, PA                 Attn: Britton C Lewis           235 N Edgeworth St            P.O. Box 540                   Greensboro, NC 27401                             336-478-1146 336-478-1145 bcl@crlaw.com                   Britton C. Lewis           Company
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22 Chipman, Brown, Cicero & Cole, LLP    Attn: Mark Desgrosseilliers     1313 N Market St, Ste 5400    Wilmington, DE 19801                                                            302-295-0191 302-295-0199 desgross@chipmanbrown.com       Mark L. Desgrosseilliers   Interest
                                                                                                                                                                                                                                                                            *NOA - Counsel for Liberty Mutual
23 Choate, Hall & Stewart LLP            Attn: Douglas R. Gooding        Attn: Jonathan D. Marshall    Attn: Michael J. Foley, Jr     Two International Place     Boston, MA 02110     617- 248-5000 617-248-4000 dgooding@choate.com            Douglas R. Gooding         Insurance Company
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24 Choate, Hall & Stewart LLP                                                                                                                                                          617-248-5000 617-248-4000 jmarshall@choate.com            Jonathan D. Marshal        Insurance Company
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25 Choate, Hall & Stewart LLP                                                                                                                                                          617-248-5000 617-248-4000 mjfoley@choate.com              Michael J. Foley           Insurance Company
                                                                                                           Case 20-10343-LSS                            Doc 2006               Filed 02/02/21                   Page 5 of 11



                      A                                  B                                C                                D                                E                     F                  G             H                            I                            J                            K
                                                                       Attn: Deb Secrest/Collections                                                                                                                                                                                  *NOA - Authorized Agent for the
26 Commonwealth of Pennsylvania        Dept of Labor & Industry        Support Unit                         651 Boas St, Rm 925             Harrisburg, PA 17121                               717-787-7627 717-787-7671 ra-li-ucts-bankrupt@state.pa.us       Deb Secrest            Commonwealth of Pennsylvania
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27 Connolly Gallagher, LLP             Attn: Karen C. Bifferato        Attn: Kelly M. Conlan                1201 N Market St, 20th Fl       Wilmington, DE 19801                               302-757-7300                kbifferato@connollygallagher.com    Karen C. Bifferato     Crossing, LLC (Landlord)
                                                                                                                                                                                                                                                                                      *NOA - Counsel for IRC Burnsville
28 Connolly Gallagher, LLP                                                                                                                                                                     302-757-7300                kconlan@connollygallagher.com       Kelly M. Conlan        Crossing, LLC (Landlord)
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29 Coughlin Duffy, LLP                 Armenti                         Attn: Michael Hrinewski              350 Mt Kemble Ave               P.O. Box 1917               Morristown, NJ 07960   973-267-0058 973-267-6442 kcoughlin@coughlinduffy.com           Kevin Coughlin         Company
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30 Coughlin Duffy, LLP                                                                                                                                                                         973-267-0058 973-267-6442 larmenti@coughlinduffy.com            Lorraine Armenti       Company
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31 Coughlin Duffy, LLP                                                                                                                                                                         973-267-0058 973-267-6442 mhrinewski@coughlinduffy.com          Michael Hrinewski      Company
32 Crew Janci LLP                      Attn: Stephen Crew              Attn: Peter Janci                    1200 NW Naito Pkwy, Ste 500     Portland, OR 97209                                 888-407-0224              steve@crewjanci.com                   Stephen Crew           *NOA - Counsel to Abuse Victims
33 Crew Janci LLP                                                                                                                                                                                                        peter@crewjanci.com                   Peter Janci            *NOA - Counsel to Abuse Victims
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34 Cross & Simon, LLC                  Attn: Christopher Simon         Attn: Kevin Mann                     1105 N Market St, Ste 901       Wilmington, DE 19801                               302-777-4200 302-777-4224 csimon@crosslaw.com                   Christopher P. Simon   LLP
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35 Cross & Simon, LLC                                                                                                                                                                          302-777-4200 302-777-4224 kmann@crosslaw.com                    Kevin S. Mann          LLP
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36 Crowell & Moring LLP                Attn: Mark D. Plevin            Attn: Austin J. Sutta                3 Embarcadero Center, 26th Fl   San Francisco, CA 94111                            415-986-2800 415-986-2827 mplevin@crowell.com                   Mark D. Plevin         Insurance Company
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37 Crowell & Moring LLP                Attn: Austin J. Sutta                                                                                                                                                               asutta@crowell.com                  Austin J. Sutta        Insurance Company
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38 Crowell & Moring LLP                Attn: Tacie H. Yoon             1001 Pennsylvania Ave, NW            Washington, D.C. 20004                                                             202-624-2500 202-628-5116 tyoon@crowell.com                     Tacie H. Yoon          Insurance Company
                                                                                                                                                                                                                                                                                      *NOA - Counsel for Chicksaw Council,
39 Davies Hood PLLC                    Attn: Jason P. Hood             22 N Front St, Ste 620               Memphis, TN 38103-2100                                                             901-730-6910                Jason.Hood@davieshood.com           Jason P. Hood          BSA, Inc.
                                                                                                                                                                                                                                                                                      *NOA - Counsel for Girl Scouts of the
40 Dorsey & Whitney LLP                Attn: Eric Lopez Schnabel       Attn: Alessandra Glorioso            300 Delaware Ave, Ste 1010      Wilmington, DE 19801                               302-425-7171                schnabel.eric@dorsey.com            Eric Lopez Schnabel    United States of Ameri
                                                                                                                                                                                                                                                                                      *NOA - Counsel for Girl Scouts of the
41 Dorsey & Whitney LLP                                                                                                                                                                        302-425-7171                glorioso.alessandra@dorsey.com      Alessandra Glorioso    United States of Ameri
                                       Attn: Bruce R. Ewing/E.                                                                                                                                                                                                                        *NOA - Counsel for Girl Scouts of the
42 Dorsey & Whitney LLP                Schnabel                        51 W 52nd St                         New York, NY 10019                                                                                             ewing.bruce@dorsey.com              Bruce R. Ewing         United States of Ameri

43 Doshi Legal Group, P.C.             Attn: Amish R. Doshi            1979 Marcus Ave, Ste 210E            Lake Success, NY 11042                                                             516-622-2335                amish@doshilegal.com                Amish R. Doshi         *NOA - Counsel to Oracle America, Inc.
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44 Faegre Drinker Biddle & Reath LLP   Attn: Patrick A. Johnson        222 Delaware Ave, Ste 1410           Wilmington, DE 19801-1621                                                          302-467-4200 302-467-4201 patrick.jackson@faegredrinker.com     Patrick A. Johnson     LLC d/b/a Trail's End
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45 Faegre Drinker Biddle & Reath LLP   Attn: Jay Jaffe                 600 E. 96th St, Ste 600              Indianapolis, IN 46240                                                             317-569-9600 317-569-4800 jay.jaffe@faegredrinker.com           Jay Jaffe              LLC d/b/a Trail's End
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46 Faegre Drinker Biddle & Reath LLP                                                                                                                                                           302-467-4200 302-467-4201 kaitlin.mackenzie@faegredrinker.com   Kaitlin W. MacKenzie   Diocese of Brooklyn, N
                                                                                                                                                                                                                                                                                      *NOA - Counsel for The Roman Catholic
47 Faegre Drinker Biddle & Reath LLP   Attn: Michael P. Pompeo         1177 Ave of the Americas, 41st Fl    New York, NY 10036-2714                                                            212-248-3140 212-248-3141 michael.pompeo@faegredrinker.com      Michael P. Pompeo      Diocese of Brooklyn, N
                                                                                                                                                                                                                                                                                      *NOA - Counsel for The Roman Catholic
48 Faegre Drinker Biddle & Reath LLP   Attn: Patrick A. Jackson        Attn: Kaitlin W. MacKenzie           222 Delaware Ave., Suite 1410   Wilmington, DE 19801-1621                          302-467-4200 302-467-4201 Patrick.Jackson@faegredrinker.com     Patrick A. Jackson     Diocese of Brooklyn, N
                                                                                                                                                                                                                                                                                      *NOA - Counsel for National Union Fire
49 Fineman Krekstein & Harris, PC      Attn: Dierdre M Richards        1300 N King St                       Wilmington, DE 19801                                                               302-538-8331 302-394-9228 drichards@finemanlawfirm.com          Dierdre M Richards     Insurance Co of PA, A
                                                                                                                                                                                                                                                                                      *NOA - Counsel for Trennie L. Williams
                                                                                                                                                                                                                                                                                      and Kiwayna H. Williams, jointly as
50 Flordia M. Henderson                P.O. Box 30604                  Memphis, TN 38130-0604                                                                                                  901-348-4406 901-348-4409 flordia@fhendersonlaw.net             Flordia M. Henderson   Parents,
51 Foley & Lardner LLP                 Attn: Richard J Bernard         90 Park Ave                          New York, NY 10016                                                                 212-682-7474 212-687-2329 rbernard@foley.com                    Richard J. Bernard     *NOA - Counsel for Boys Scouts of
52 Foley & Lardner LLP                 Attn: Victor Vilaplana          3579 Valley Centre Dr, Ste 300       San Diego, CA 92130                                                                858-847-6759 858-792-6773 vavilaplana@foley.com                 Victor Vilaplana       *NOA - Counsel for Boys Scouts of
   Foran Glennon Planadech Ponzi                                                                                                                                                                                                                                                      *NOA - Counsel for National Union Fire
53 & Rudloff, P.C.                     Attn: Susan N K Gummow          Attn: Igor Shleypak                  222 N LaSalle St, Ste 1400      Chicago, IL 60614                                  312-863-5000 312-863-5000 sgummow@fgppr.com                     Susan N K Gummow       Insurance Co of PA, A
   Foran Glennon Planadech Ponzi                                                                                                                                                                                                                                                      *NOA - Counsel for National Union Fire
54 & Rudloff, P.C.                                                                                                                                                                             312-863-5000 312-863-5000 ishleypak@fgppr.com                   Igor Shleypak          Insurance Co of PA, A
55 Fox Swibel Levin & Carroll LLP      Attn: Margaret M. Anderson      200 W Madison St, Ste 3000           Chicago, IL 60606                                                                  312-224-1224 312-224-1201 panderson@foxswibel.com               Margaret M. Anderson   *NOA - Counsel for Old Republic
                                       Attn: Kami Quinn / Attn:        Attn: Emily Grim /                                                                                                                                                                                             *NOA - Counsel to Future Claimants’
56 Gilbert LLP                         Meredith Neely                  Attn: Jasmine Chalashtori            700 Pennsylvania Ave, SE Ste 400Washington, DC 20003                               202-772-2285                quinnk@gilbertlegal.com             Kami Quinn             Representative
                                                                                                         Case 20-10343-LSS                          Doc 2006               Filed 02/02/21                     Page 6 of 11



                       A                                 B                                  C                            D                            E                       F                  G              H                               I                              J                               K
57   Gilbert LLP                                                                                                                                                                                                          neelym@gilbertlegal.com                  Meredith Neely           *NOA - Counsel to Future Claimants’
58   Gilbert LLP                                                                                                                                                                                                          grime@gilbertlegal.com                   Emily Grim               *NOA - Counsel to Future Claimants’
59   Gilbert LLP                                                                                                                                                                                                          chalashtorij@gilbertlegal.com            Jasmine Chalashtori      *NOA - Counsel to Future Claimants’
60   Internal Revenue Service            Centralized Insolvency     P.O. Box 7346                         Philadelphia, PA 19101-7346                                                      800-973-0424 855-235-6787                                                                        Core Parties
                                         Attn: Raeann Warner/Thomas                                                                                                                                                                                                                         *NOA - Counsel for Claimants, John Doe,
61 Jacobs & Crumplar, PA                 Crumplar                   750 Shipyard Dr, Ste 200              Wilmington, DE 19801                                                             302-656-5445 302-656-5875 Raeann@jcdelaw.com                            Raeann Warner            and other Claimants
                                                                                                                                                                                                                                                                                            *NOA - Counsel for John Doe#1, John
62 Jacobs & Crumplar, PA                                                                                                                                                                   302-656-5445 302-656-5875 tom@jcdelaw.com                               Thomas C. Crumplar       Doe#2, John Doe#3

63 James, Vernon & Weeks, P.A.           Attn: Leander L. James         Attn: Craig K. Vernon             Attn: R. Charlie Beckett      1626 Lincoln Wy             Coeur d’Alene, ID 83815 208-667-0683 208-664-1684 ljames@jvwlaw.net                            Leander L. James         *NOA - Counsel to Certain Tort Claimants

64 James, Vernon & Weeks, P.A.                                                                                                                                                                                            cvernon@jvwlaw.net                       Craig K. Vernon          *NOA - Counsel to Certain Tort Claimants

65 James, Vernon & Weeks, P.A.                                                                                                                                                                                            rbeckett@jvwlaw.net                      R. Charlie Beckett       *NOA - Counsel to Certain Tort Claimants
                                                                                                                                                                                                                                                                                            *NOA - Counsel to Claimant J.M. as party
66 Janet, Janet & Scuggs, LLC            Attn: Gerald D Jowers, Jr      500 Taylor St, Ste 301            Columbia, SC 29201                                                               803-726-0050 803-727-1059 GJowers@JJSJustice.com                        Gerald D. Jowers, Jr.    in interest
67 JPMorgan Chase Bank, NA               Attn: Phil Martin              10 S Dearborn St                  Mail Code Il1-1415            Chicago, Il 60603                                  312-732-4728                                                                                     Bank Debt
                                         c/o Norton Rose Fulbright US                                                                                                                                                                                                                       *NOA - Counsel for JPMorgan Chase
68 Jpmorgan Chase Bank, NA               LLP                            Attn: Louis R. Strubeck, Jr       1301 Ave of the Americas      New York, NY 10019-6022                            212-318-3159                   louis.strubeck@nortonrosefulbright.com   Louis R. Strubeck, Jr    Bank, National Association
                                                                                                                                                                                                                                                                                            *NOA - Counsel for Chief Seattle Council,
69 Karr Tuttle Campbell, PS              Attn: Bruce W. Leaverton       701 5th Ave, Ste 3300             Seattle, WA 98104                                                                206-223-1313 206-682-7100 bleaverton@karrtuttle.com                     Bruce W. Leaverton       Boy Scouts of Amer
   Kelly, Morgan, Dennis, Corzine &                                                                                                                                                                                                                                                         *NOA - Counsel to Buffalo Trail Council,
70 Hansen, P.C.                          Attn: Michael G. Kelly         P.O. Box 1311                     Odessa, TX 79760-1311                                                            432-367-7271 432-363-9121 mkelly@kmdfirm.com                            Michael G. Kelly         Inc.
   Klehr Harrison Harvey Branzburg
71 LLP                                   Attn: Domenic E. Pacitti       919 Market St, Ste 1000           Wilmington, DE 19801                                                             302-552-5511                   dpacitti@klehr.com                       Domenic E. Pacitti       *NOA - Counsel to Abuse Victims
   Klehr Harrison Harvey Branzburg
72 LLP                                   Attn: Morton R. Branzburg      1835 Market St, Ste 1400          Philadelphia, PA 19103                                                           215-569-2700                   mbranzburg@klehr.com                     Morton R. Branzburg      *NOA - Counsel to Abuse Victims
                                         Attn: Thomas Moers             Attn: David E. Blabey Jr./                                                                                                                                                                                          *NOA - Counsel to the Official
73 Kramer Levin Naftalis & Frankel LLP   Mayer/Rachel Ringer            Jennifer R. Sharret               Attn: Megan M. Wasson         177 Ave of the Americas     New York, NY 10036     212-715-9100 212-715-8000 tmayer@kramerlevin.com                        Thomas Moers Mayer       Committee of Unsecured Credit
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74 Kramer Levin Naftalis & Frankel LLP                                                                                                                                                     212-715-9100 212-715-8000 rringer@kramerlevin.com                       Rachael Ringer           Committee of Unsecured Credit
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75 Kramer Levin Naftalis & Frankel LLP                                                                                                                                                     212-715-9100 212-715-8000 dblabey@kramerlevin.com                       David E. Blabey Jr.      Committee of Unsecured Credit
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78 Latham & Watkins LLP                  Attn: Jeffrey E Bjork          Attn: Kimberly A Posin            Attn: Nicholas J Messana      355 S Grand Ave, Ste 100    Los Angeles, CA 90071-1560
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79 Latham & Watkins LLP                                                                                                                                                                     213-485-1234   213-891-8763   kim.posin@lw.com                         Kimberly A. Posin        *NOA - Counsel for The Church of Jesus
80 Latham & Watkins LLP                                                                                                                                                                     213-485-1234   213-891-8763   nicholas.messana@lw.com                  Nicholas J. Messana      *NOA - Counsel for The Church of Jesus
81 Latham & Watkins LLP                  Attn: Adam J Goldberg          885 3rd Ave                       New York, NY 10022-4834                                                           212-906-1200   212-751-4864   adam.goldberg@lw.com                     Adam J. Goldberg         *NOA - Counsel for The Church of Jesus
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82 Sampson, LLP                          Attn: John P. Dillman          P.O. Box 3064                     Houston, TX 77253-3064                                                           713-844-3400 713-844-3503 houston_bankruptcy@publicans.com              John P. Dillman          Bend County, OC, Mont
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83 Sampson, LLP                          Attn: Elizabeth Weller         2777 N. Stemmons Fwy, Ste 1000    Dallas, TX 75207                                                                 214-880-0089 469-221-5003 dallas.bankruptcy@publicans.com               Elizabeth Weller         *NOA-Dallas County
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84 Sampson, LLP                          Attn: Don Stecker              112 E Pecan St, Ste 2200          San Antonio, TX 78205                                                            210-225-6763 210-225-6410 sanantonio.bankruptcy@publicans.com           Don Stecker              *NOA - Counsel to Ector CAD
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85 Maurice Wutscher LLP                  Attn: Alan C. Hochheiser       23611 Chagrin Blvd. Ste 207       Beachwood, OH 44122                                                              216-220-1129 216-472-8510 ahochheiser@mauricewutscher.com               Alan C. Hochheiser       America, Inc. on behalf of
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86 PC                                    Attn: Tara LeDay               P.O. Box 1269                     Round Rock, TX 78680                                                             512-323-3200 512-323-3205 tleday@mvbalaw.com                            Tara LeDay               Authorities
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                                                                                                               Case 20-10343-LSS                             Doc 2006              Filed 02/02/21                    Page 7 of 11



                        A                                  B                                      C                             D                               E                     F                   G             H                            I                                 J                                K
     Mintz, Levin, Cohn, Ferris, Glovsky                                                                                                                                                                                                                                                             *NOA - Counsel for Liberty Mutual
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96 Hochman, P.A.                           Attn: Rachel B. Mersky           1201 N Orange St, Ste 400           Wilmington, DE 19801                                                                302-656-8162               rmersky@monlaw.com                      Rachel B. Mersky              Justice/Counsel for Waste Management
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97 Browder, PA                             Attn: Brian McLaughlin           Attn: Rachel B. Mersky              1201 N Orange St, Ste 400       Wilmington, DE 19801                                302-656-8162 302-656-2769 bmclaughlin@monlaw.com                   Brian J. McLaughlin           *NOA - Counsel for Waste Management
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98 Browder, PA                                                                                                                                                                                      302-656-8162 302-656-2769 rmersky@monlaw.com                       Rachel B. Mersky              *NOA - Counsel for Waste Management
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101 Morris James LLP                       Attn: Jeffrey Waxman             Attn: Eric J. Monzo                 500 Delaware Avenue, Suite 1500Wilmington, DE 19801                                 302-888-6800 302-571-1750 jwaxman@morrisjames.com                  Jeffrey Waxman                Inc. and NCS Pearson,
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103 Morris, Nichols, Arsht & Tunnell       Attn: Derek C. Abbott          1201 N. Market Street                 P.O. Box 1347                   Wilmington, DE, 19899                                            302-658-7036 dabbott@mnat.com                         Derek C. Abbott               Core Parties
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104 Morris, Nichols, Arsht & Tunnell       II                                                                                                                                                                                  barsalona@mnat.com                      Joseph Charles Barsalona II   Core Parties
105 Morris, Nichols, Arsht & Tunnell       Attn: Eric Moats                                                                                                                                                                    emoats@mnat.com                         Eric Moats                    Core Parties
106 Morris, Nichols, Arsht & Tunnell       Attn: Andrew R. Remming                                                                                                                                                             aremming@mnat.com                       Andrew R. Remming             Core Parties
107 Morris, Nichols, Arsht & Tunnell       Attn: Paige N. Topper                                                                                                                                                               ptopper@mnat.com                        Paige N. Topper               Core Parties
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108 Nagel Rice LLP                         Attn: Bradley L Rice             103 Eisenhower Pkwy                 Roseland, NJ 07068                                                                  973-618-0400 973-618-9194 brice@nagelrice.com                      Bradley L. Rice               and Defendant in Adver
109 Napoli Shkolnnik PLLC                  Attn: R. Joseph Hrubiec          919 N Market St, Ste 1801           Wilmington, DE 19801                                                                302-330-8025              RHrubiec@NapoliLaw.com                   R. Joseph Hrubiec             *NOA - Counsel for Claimant J.M.
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118 Office of the United States Trustee    Attn: David L. Buchbinder        Attn: Hannah Mufson McCollum        844 King St, Suite 2207         Lockbox 35                  Wilmington, DE 19801    302-573-6565 302-573-6497 david.l.buchbinder@usdoj.gov             David L. Buchbinder    Core Parties
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126 Corporation                                                                                                                                                                           202-229-6778 202-326-4112 burton.cassandra@pbgc.gov         Cassandra Burton      Guaranty Corporation
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127 Corporation                                                                                                                                                                           202-229-6778 202-326-4112 fessenden.craig@pbgc.gov          Craig T. Fessenden    Guaranty Corporation
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128 Corporation                           Attn: Patricia Kelly, CFO      Attn: C. Burton/ C. Fessenden      1200 K St NW                Washington, DC 20005                              202-229-3033 202-326-4112 Kelly.Patricia@Pbgc.Gov           Patricia Kelly        Guaranty Corporation

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129 Perdue, Brandon, Fielder, Collins & Mott,Attn:
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130 Pfau Cochran Vertetis Amala PLLC       Amala                         Attn: Vincent Nappo                403 Columbia St, Ste 500    Seattle, WA 98104                                 206-451-8260 206-623-3624 michael@pcvalaw.com               Michael T. Pfau       Claimants
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131 Pfau Cochran Vertetis Amala PLLC                                                                                                                                                      206-451-8260 206-623-3624 jason@pcvalaw.com                 Jason P. Amala        Claimants
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132 Pfau Cochran Vertetis Amala PLLC                                                                                                                                                      206-451-8260 206-623-3624 vnappo@pcvalaw.com                Vincent T. Nappo      Claimants
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135 Reed Smith LLP                        Attn: Kurt F. Gwynne           Attn: Katelin A. Morales           120 N Market St, Ste 1500   Wilmington, DE 19801                              302-778-7500 302-778-7575 kgwynne@reedsmith.com             Kurt F. Gwynne        Unsecured Creditors
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136 Reed Smith LLP                                                                                                                                                                        302-778-7500 302-778-7575 kmorales@reedsmith.com            Katelin A. Morales    Committee of Unsecured Credit
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137 Richards, Layton & Finger, PA         Haywood                        One Rodney Square                  920 N King St               Wilmington, DE 19801                              302-651-7700 302-651-7701 merchant@rlf.com                  Michael J. Merchant   Christ of Latter-day
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138 Richards, Layton & Finger, PA                                                                                                                                                         302-651-7700 302-651-7701 haywood@rlf.com                   Brett M. Haywood      Christ of Latter-day
                                                                                                                                                                                                                                                                            *NOA - Courtney and Stephen Knight,
                                                                                                                                                                                                                                                                            Jointly as the Surviving Parents of E.J.K., a
                                                                                                                                                                                                                                                                            Minor Child,
    Schnader Harrison Segal & Lewis                                                                                                                                                                                                                                         and Stephen Knight as the Personal
139 LLP                                   Attn: Richard A. Barkasy       Attn: Kristi J. Doughty            824 N Market St, Ste 800    Wilmington, DE 19801-4939                         302-482-4038 302-888-1696 rbarkasy@schnader.com             Richard A. Barkasy    Representative of the Estate of E.J.K.

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140 LLP                                                                                                                                                                                   302-482-4038 302-888-1696 kdoughty@schnader.com             Kristi J. Doughty     Parents of E.J.K., a Minor Child
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141 Seitz, Van Ogtrop & Green, P.A.       Attn: R. Karl Hill             222 Delaware Ave, Ste 1500         Wilmington, DE 19801                                                          302-888-0600 302-888-0606 khill@svglaw.com                  R. Karl Hill          Company
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142 Sequoia Counsel of Boy Scouts, Inc.   Attn: Michael Marchese         6005 N Tamera Ave                  Fresno, CA 93711                                                                                          michael.marchese@scouting.org   Michael Marchese      Boy Scouts, Inc.

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146 Shipman & Goodwin LLP              Ruggeri                         Michele B Konigsberg         1875 K St NW, Ste 600    Washington, DC 20006-1251          202-469-7750 202-469-7751 awilliams@goodwin.com             Abigail W. Williams        and Twin City Fire Insurance Company

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147 Shipman & Goodwin LLP                                                                                                                                       212-469-7750 212-469-7751 jweinberg@goodwin.com             Joshua D. Weinberg         and Twin City Fire Insurance Company

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151 Sidley Austin LLP                  Attn: Matthew Evan Linder                                                                                                                            mlinder@sidley.com              Matthew Evan Linder       Core Parties
152 Sidley Austin LLP                  Attn: Thomas A. Labuda, Jr.                                                                                                                          tlabuda@sidley.com              Thomas A. Labuda, Jr.     Core Parties
153 Sidley Austin LLP                  Attn: Karim Basaria                                                                                                                                  kbasaria@sidley.com             Karim Basaria             Core Parties
154 Sidley Austin LLP                  Attn: Jessica C. Boelter        787 Seventh Avenue           New York, NY 10019                                                         212-839-5599 jboelter@sidley.com             Jessica C. Boelter        Core Parties
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                                                                                                                                                                                                                                                      Company, as successor to Cigna Specialty
                                                                                                                                                                                                                                                      Insurance Company
                                                                                                                                                                                                                                                       f/k/a California Union Insurance
                                                                                                                                                                                                                                                      Company, and CCI Insurance Company as
                                                                                                                                                                                                                                                      successor to Insurance Company of
155 Stamoulis & Weinblatt LLC          Attn: Stamatios Stamoulis       Attn: Richard Weinblatt      800 N West St, Ste 800   Wilmington, DE 19801               302-999-1540                stamoulis@swdelaw.com           Stamatios Stamoulis       North America, et al.
                                                                                                                                                                                                                                                      *NOA - Counsel to for Century Indemnity
                                                                                                                                                                                                                                                      Company, as successor to Cigna Specialty
                                                                                                                                                                                                                                                      Insurance Company f/k/a California
                                                                                                                                                                                                                                                      Union Insurance Company, and CCI
                                                                                                                                                                                                                                                      Insurance Company as successor to
                                                                                                                                                                                                                                                      Insurance Company of North America, et
156 Stamoulis & Weinblatt LLC                                                                                                                                   302-999-1540                weinblatt@swdelaw.com           Richard C. Weinblatt      al.
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157 Stark & Stark, PC                  Attn: Joseph H Lemkin           P.O. Box 5315                Princeton, NJ 08543                                         609-791-7022 609-896-0629 jlemkin@stark-stark.com           Joseph H. Lemkin          in State Court a
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158 Sullivan Hazeltine Allinson LLC    Attn: William D. Sullivan       919 N Market St, Ste 420     Wilmington, DE 19801                                        302-428-8191 302-428-8195 bsullivan@sha-llc.com             William D. Sullivan       administrator of the Estate of J. Pai
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159 Synchrony Bank                     Management, LLC                 Attn: Valerie Smith          P.O. Box 41021           Norfolk, VA 23541                  877-885-5919 757-351-3257 claims@recoverycorp.com           Valerie Smith             Bank

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160 County                             Attn: President                 P.O. Box 307                 Fayetteville, WV 25840                                      304-574-4290                                                                           Bonds
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    The County Commission Of Fayette
161 County                               c/o Steptoe & Johnson Pllc    Attn: John Stump, Esq                Chase Tower - 8th Fl            707 Virginia St E.          Charleston, WV 25301   304-353-8196                                                                             Bonds
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                                                                                                                                                                                                                                                                                        Mason Gordon, a minor by his mother
162 The Law Office of James Tobia, LLC   Attn: James Tobia             1716 Wawaset St                      Wilmington, DE 19806                                                               302- 655-5303 302-656-8053 jtobia@tobialaw.com                 James Tobia               Nichole Erickson
163 The Law Offices of Joyce, LLC        Attn: Michael J. Joyce        1225 King St, Ste 800                Wilmington, DE 19801                                                               302-388-1944               mjoyce@mjlawoffices.com             Michael J. Joyce          *NOA - Counsel for Arrowood Indemnity
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164 The Neuberger Firm                   Attn: Thomas S. Neuberger     Attn: Stephen J. Neuberger           17 Harlech Dr                   Wilmington, DE 19807                               302-655-0582 302-656-5875 tsn@neubergerlaw.com                 Thomas S. Neuberger       and other Claimants
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165 The Neuberger Firm                                                                                                                                                                         302-655-0582 302-656-5875 sjn@neubergerlaw.com                 Stephen J. Neuberger      and other Claimants
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166 The Powell Firm, LLC                 Attn: Jason C. Powell         Attn: Thomas Reichert                1201 N Orange St, Ste 500       P.O. Box 289                Wilmington, DE 19899   302-650-1572              jpowell@delawarefirm.com             Jason C. Powell           Genevieve Phillips Foundation
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167 The Powell Firm, LLC                                                                                                                                                                       302-650-1572              treichert@delawarefirm.com           Thomas Reichert           Genevieve Phillips Foundation
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168 Thomas Law Office, PLLC              Schneider                     9418 Norton Commons Blvd, Ste 200    Louisville, KY 40059                                                               877-736-4963 502-785-7257 tad@thomaslawoffices.com             Tad Thomas                *NOA - Counsel for Certain Claimants

169 Thomas Law Office, PLLC                                                                                                                                                                    502-473-6540 877-955-7002 lou.schneider@thomaslawoffices.com   Louis C. Schneider        *NOA - Counsel for Certain Claimants
    TN Dept of Labor - Bureau of         c/o TN Attorney General's
    Unemployment                         Office,                                                                                                                                                                                                                                        *NOA - Tennessee Attorney General's
170 Insurance                            Bankruptcy Division           Attn: Laura L. McCloud               PO Box 20207                    Nashville, TN 37202-0207                           615-532-8933 615-741-3334 AGBankDelaware@ag.tn.gov             Laura L. McCloud          Office
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171 Mahoney PC                           Attn: Cindy Robinson          Attn: Doug Mahoney                   64 Lyon Ter                     Bridgeport, CT 06604                               203-335-5145 203-366-8503 crobinson@tremontsheldon.com         Cindy L. Robinson         Interest
    Tremont Sheldon Robinson                                                                                                                                                                                                                                                            *NOA - Counsel for Jane Doe, Party in
172 Mahoney PC                                                                                                                                                                                 203-335-5145 203-366-8503 dmahoney@tremontsheldon.com          Doug Mahoney              Interest
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173 Sanders LLP                          Attn: David M. Fournier       Attn: Marcy J. McLaughlin Smith      1313 Market St, Ste 5100        P.O. Box 1709               Wilmington, DE 19899-1709
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    Troutman Pepper Hamilton                                                                                                                                                                                                                                                            *NOA - Counsel for the National Surety
174 Sanders LLP                                                                                                                                                                                302-777-6500 302-421-8390 marcy.smith@troutman.com             Marcy J. McLaughlin Smith Corporation
    Troutman Pepper Hamilton                                                                                                                                                                                                                                                            *NOA - Counsel for the National Surety
175 Sanders LLP                          Attn: Harris B. Winsberg      Attn: Matthew G. Roberts             600 Peachtree St NE, Ste 3000   Atlanta, GA 30308                                  404-885-3348 404-885-3900 harris.winsberg@troutman.com         Harris B. Winsberg        Corporation
    Troutman Pepper Hamilton                                                                                                                                                                                                                                                            *NOA - Counsel for the National Surety
176 Sanders LLP                                                                                                                                                                                404-885-2737 404-885-3900 matthew.roberts2@troutman.com        Matthew G. Roberts        Corporation
177 Tybout, Redfearn & Pell              Attn: Seth J. Reidenberg      750 Shipyard Dr, Ste 400             P.O. Box 2092                   Wilmington, DE 19899-2092                          302-658-6901 302-658-4018 sreidenberg@trplaw.com               Seth J. Reidenberg        *NOA - Counsel for American Zurich
178 United States Dept Of Justice        950 Pennsylvania Ave, Nw      Room 2242                            Washington, DC 20530-0001                                                          202-514-2000                                                                             Core Parties
179 US Attorney For Delaware             Attn: David C Weiss           1007 Orange St, Ste 700              P.O. Box 2046                   Wilmington, DE 19899-2046                          302-573-6277 302-573-6220 usade.ecfbankruptcy@usdoj.gov                                  Core Parties
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180 Wachtell, Lipton, Rosen & Katz       Mayer                         Attn:Joseph C. Celentino             51 W 52nd St                    New York, NY 10019                                 212-403-1252 212-403-2252 rgmason@wlrk.com                     Richard G. Mason          Hoc Committee of L
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181 Wachtell, Lipton, Rosen & Katz                                                                                                                                                             212-403-1251 212-403-2251 dkmayer@wlrk.com                     Douglas K. Mayer          Hoc Committee of L
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182 Wachtell, Lipton, Rosen & Katz                                                                                                                                                             212-403-1076 212-403-2076 jccelentino@wlrk.com                 Joseph C. Celentino       Hoc Committee of L
                                                                                                                                                                                                                                                                                        *NOA - Counsel to for Century Indemnity
                                                                                                                                                                                                                                                                                        Company, as successor to Cigna Specialty
                                                                                                                                                                                                                                                                                        Insurance Company f/k/a California
                                                                                                                                                                                                                                                                                        Union Insurance Company,
183 Walker Wilcox Maousek LLP            Attn: Christopher A. Wadley   1 N Franklin, Ste 3200               Chicago, IL 60606                                                                  312-244-6717              cwadley@walkerwilcox.com             Christopher A. Wadley     and CCI Insurance Company as successor
                                                                                                                                                                                                                                                                                        *NOA - Counsel for Sequoia Counsel of
184 Wanger Jones Helsley, PC.            Attn: Riley C. Walter         265 E River Park Circle, Ste 310     Fresno, CA 93720                                                                   559-490-0949              rwalter@wjhattorneys.com             Riley C. Walter           Boy Scouts, Inc.
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185 Ward and Smith, P.A.                 Attn: Paul A Fanning          P.O. Box 8088                        Greenville, NC 27835-8088                                                          252-215-4000 252-215-4077 paf@wardandsmith.com                 Paul A Fanning            BSA, Inc.
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186 Whiteford, Taylor & Preston LLC      Attn: Richard W Riley         The Renaissance Centre               405 N King St, Ste 500          Wilmington, DE 19801                               302-353-4144              rriley@wtplaw.com                    Richard W. Riley          Council Boy Scouts of Amer
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187 Whiteford, Taylor & Preston LLP      Attn: Todd M Brooks           7 St Paul St, 15th Fl                Baltimore, MD 21202-1626                                                           410-347-9421              tbrooks@wtplaw.com                   Todd M. Brooks            Council Boy Scouts of Amer
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188 Wilks Law, LLC                       Attn: David E. Wilks          4250 Lancaster Pike, Ste 200         Wilmington, DE 19805                                                               302-225-0850              dwilks@wilks.law                     David E. Wilks            Andrew Van Arsdale and Timothy
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                      A                               B                              C                                 D                       E             F                 G             H                          I                         J                            K
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189 Dorr LLP                           Attn: Craig Goldblatt       1875 Pennsylvania Ave NW            Washington, DC 20006                                               202-663-6000 202-663-6363 craig.goldblatt@wilmerhale.com   Craig Goldblatt       Casualty Company and The Con
                                       Attn: Matthew Ward/Morgan                                                                                                                                                                                           *NOA - Counsel for JPMorgan Chase
190 Womble Bond Dickinson (US) LLP     Patterson                   1313 N Market St, Ste 1200          Wilmington, DE 19801                                               302-252-4320 302-252-4330 matthew.ward@wbd-us.com          Matthew P. Ward       Bank, National Association
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192 Young Conaway Stargatt & Taylor    Attn: James L. Patton, Jr   Attn: Robert Brady/Edwin Harron     Rodney Square          1000 N King St       Wilmington, DE 19801   302-571-6684 302-576-3325 jpatton@ycst.com                 James L. Patton, Jr   Future Claimants’
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